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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION

VC MACON GA, LLC                                   )
                                                   )
       Plaintiff,                                  )
                                                   )
v.                                                 )            Civil Action No.
                                                   )           5:18-cv-00388-TES
VIRGINIA COLLEGE, LLC; and                         )
EDUCATION CORPORATION OF                           )
AMERICA,                                           )
                                                   )
       Defendants.                                 )


REPONSE BY THE RECEIVER TO THE MOTION FOR EXTENSION FILED BY THE
 UNITED STATES OF AMERICA TO RESCHEDULE THE MOTION TO CONFIRM
                    AND APPROVE SETTLEMENT
       COMES NOW John F. Kennedy, solely in his capacity as Receiver (the “Receiver”) for

the Receivership Estate (the “Receivership Estate”) of Education Corporation of America, Virginia

College, LLC, and New England School of Business and Finance (collectively, “ECA”), and

respectfully files this response to the United States of America’s Motion for Extension and

Rescheduling of the Motion to Confirm. (the “Motion”, Doc. 536).

       In the Motion, the United States contends that no party will be prejudiced by an extension.

That is not correct. The Receiver has incurred significant expense to provide notice of the objection

deadline and upcoming hearing (via mail, email, and text message) to all of the claimants that filed

proof of claims in the claims process. To reschedule the hearing again will require the Receiver to

incur further expenses and costs to re-notice the hearing and objection deadline. Additionally, all

of the parties have made arrangements based on this current hearing date, and will have to incur

unnecessary expenses if an extension is granted.




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        The proposed Settlement Agreement is fair and reasonable, and will provide the

Receivership Estate with $28 million dollars. As the United State notes, the settlement has taken

several years to achieve, and it should not be delayed any further. The United States, like all other

parties and interested parties, will have had two weeks to review the materials in the Receiver’s

motion – which is only one week less than the normal briefing schedule. L.R. 7.2. Furthermore,

the public has been informed for the last several months that post-mediation settlement discussions

were ongoing between the parties. (See Receiver’s Reports, Docs. 526, p. 3; 527, p. 3; Doc. 528,

p. 3). It is not a secret that the Receiver was working to settle the Receiver’s Claims the last several

months, and there has been amble time for any interested parties to make any concerns known to

the Receiver.1

        For the reasons above, the Receiver moves the Court to deny the United States’ Motion for

Extension.



        Respectfully submitted this the 30th day of December, 2022.

                                                             /s/ James F. Banter
                                                             James F. Banter
                                                             Counsel for the Receiver

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1
  The undersigned counsel has made himself available several times this week for calls and emails with counsel for
the United States to discuss the Settlement Agreement and answer any questions concerning the terms of the same.


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                              CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy on the following parties via U.S. Mail or

electronically through the CM/ECF system on this the 30th day of December, 2022.

                                                         /s/ James F. Banter
                                                         James F. Banter
                                                         Counsel for the Receiver




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